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                                                        U.S. Department of Justice

                                                        United States Attorney
                                                        Southern District of New York



                                                        86 Chambers Street
                                                        New York, New York 10007


                                                        March 10, 2025
BY ECF
The Honorable Andrew L. Carter, Jr.
United States District Judge
Thurgood Marshall United States Courthouse                                                            03/11/2025
40 Foley Square, Room 2203
New York, NY 10007

       Re:     Knight First Amendment Institute v. U.S. Dep’t of Homeland Security et al.,
               No. 17 Civ. 7572 (ALC)

Dear Judge Carter:

        I represent Defendants (the “government”) in the above-referenced FOIA action and write
respectfully on behalf of all parties in the above-referenced FOIA action to provide a status update.

       As noted in the last status report, Plaintiff has reviewed all of the draft Vaughn indexes
provided by the government and determined that it will not raise any additional challenges to the
government’s asserted FOIA exemptions. Therefore, the only remaining issue is attorneys’ fees
and costs. Plaintiff is still working to finalize a demand and supporting documentation for the
government’s consideration. To allow the parties more time to discuss a potential resolution of this
issue without the Court’s intervention, the parties respectfully propose to file a further status update
by May 5, 2025.

       I thank the Court for its attention to this matter.

                                                        Respectfully,

                                                        MATTHEW PODOLSKY
                                                        Acting United States Attorney

                                                By:     /s/ Peter Aronoff
                                                        PETER ARONOFF
                                                        Assistant United States Attorney
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cc: Counsel for Plaintiff (by ECF)
